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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


  UNITED STATES OF AMERICA,                       CR 23-54-BLG-SPW-2


                     Plaintiff,
                                              ORDER ADOPTING FINDINGS
          vs.                                   AND RECOMMENDATIONS

  BROOKE NICOLE LARSEN,

                     Defendant.


      Defendant entered her plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on January 9, 2024. United States Magistrate Judge

Timothy J. Cavan entered Findings and Recommendation in this matter on January
9, 2024(Doc. 77). No objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 77) are ADOPTED IN FULL,and Defendant's plea of

guilty to the charge in Count I of the Indictment is accepted.

      The clerk shall promptly notify counsel and the probation office of the entry

of this Order.


      DATED this o/y day ofJanuary, 2024.



                                             SUSAN P. WATTERS
                                             United States District Judge
